                                Fourth Court of Appeals
                                        San Antonio, Texas

                                   MEMORANDUM OPINION

                                            No. 04-24-00153-CV

                                IN RE Daniel ALDERETE, JR., Relator

                                            Original Proceeding 1

PER CURIAM

Sitting:          Luz Elena D. Chapa, Justice
                  Beth Watkins, Justice
                  Lori I. Valenzuela, Justice

Delivered and Filed: August 14, 2024

PETITION FOR WRIT OF MANDAMUS DENIED

           On February 26, 2024, relator filed a petition for a writ of mandamus. This court has

determined the relator is not entitled to the relief sought. Therefore, the petition for a writ of

mandamus is DENIED. See TEX. R. APP. P. 52.8.

                                                        PER CURIAM




1
 This proceeding arises out of Cause No. 2016-CI-05227, styled Analisa M. Alderete v. Daniel Alderete, Jr., in the
37th Judicial District Court, Bexar County, Texas, the Honorable Nadine Melissa Nieto presiding.
